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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                 CIVIL ACTION

 AMERISOURCE BERGEN                                       NO. 22-5209
 CORPORATION, et al.,

                       Defendants.


PAPPERT, J.                                                         November 6, 2023

                                        ORDER

      AND NOW, this 6th day of November 2023, upon consideration of the United

States of America’s Complaint (ECF No. 1), Defendants’ Motion to Dismiss (ECF No.

27), the United States’ Response in Opposition to the Motion (ECF. No. 38), Defendants’

Reply (ECF No. 39), and after holding oral argument (ECF No. 43), it is ORDERED

that the Motion is DENIED in part and GRANTED in part consistent with the

accompanying Memorandum. All claims for civil penalties for Defendants’ alleged

violations of the suspicious order reporting requirement prior to October 24, 2018 are

dismissed with prejudice.


                                                      BY THE COURT:




                                                      /s/ Gerald J. Pappert
                                                      GERALD J. PAPPERT, J.
